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                             EXHIBIT 21




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                             Review and Certify Risk Adjustment Data Confirmation - Payment Year
                             2013 (Dates of Service 2012)
Filed 11/17/17




                             Confirmation #: 454
                             ATTACHMENT B
                             ATTESTATION OF RISK ADJUSTMENT DATA INFORMATION RELATING TO CMS PAYMENT TO A MEDICARE ADVANTAGE
                             ORGANIZATION
                             Pursuant to the contract(s) between the Centers for Medicare & Medicaid Services (CMS) and SIERRA HEALTH AND LIFE INSURANCE
Document 171-21




                             COMPANY, INC. (H2905), hereafter referred to as the MA Organization, governing the operation of the following Medicare Advantage and
     ID #:2494




                                                                                                                                                                          EXHIBIT 21
                             Medicare Advantage-Prescription Drug plans 001, the MA Organization hereby requests payment under the contract, and in doing so, makes




                                                                                                                                                                        392
                             the following attestation concerning CMS payments to the MA Organization. The MA Organization acknowledges that the information
                             described below directly affects the calculation of CMS payments to the MA Organization or additional benefit obligations of the MA
                             Organization and that misrepresentation to CMS about the accuracy of such information may result in Federal civil action and/or criminal
                             prosecution.
                             The MA Organization has reported to CMS for the period of January 1, 2012, to December 31, 2012, all risk adjustment data (INPATIENT
                             HOSPITAL, OUTPATIENT HOSPITAL, AND PHYSICIAN) available to the MA Organization as of January 31, 2014, with respect to the above-
                             stated MA and MA-PD plans. Based on best knowledge, information, and belief as of the date indicated below, all information submitted to
Case 2:16-cv-08697-FMO-PVC




                             CMS in this report is accurate, complete, and truthful.
                             BRIAN THOMPSON on behalf of
                             SIERRA HEALTH AND LIFE INSURANCE COMPANY, INC. (H2905)
                             4/30/2014
                  CONFIDENTIAL AND PROPRIETARY                                                                                                                  MARA2157346
                  FOIA EXEMPT
